925 F.2d 1464
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Marlon Joe LEWIS, Plaintiff-Appellant,v.WERNER LEHARA, INC., Defendant-Appellee.
    No. 90-6372.
    United States Court of Appeals, Sixth Circuit.
    Feb. 20, 1991.
    
      1
      Before NATHANIEL R. JONES and DAVID A. NELSON, Circuit Judges, and JOINER, Senior District Judge.*
    
    ORDER
    
      2
      This matter is before the court upon consideration of the appellant's response to this court's November 26, 1990, order directing him to show cause why his appeal should not be dismissed for lack of jurisdiction.  Appellant states that he has been mentally ill since 1977.
    
    
      3
      It appears from the record that the final order was entered August 18, 1986.  The notice of appeal filed on October 25, 1990, was over four years late.  Fed.R.App.P. 4(a) and 26(a).
    
    
      4
      The failure of an appellant to timely file a notice of appeal deprives an appellate court of jurisdiction.  Compliance with Fed.R.App.P. 4(a) is a mandatory and jurisdictional prerequisite which this court can neither waive nor extend.    Baker v. Raulie, 879 F.2d 1396, 1398 (6th Cir.1989) (per curiam);  McMillan v. Barksdale, 823 F.2d 981, 982 (6th Cir.1987);  Myers v. Ace Hardware, Inc., 777 F.2d 1099, 1102 (6th Cir.1985);  Denley v. Shearson/American Express, Inc., 733 F.2d 39, 41 (6th Cir.1984) (per curiam);  Peake v. First Nat'l Bank &amp; Trust Co., 717 F.2d 1016, 1018 (6th Cir.1983).  Fed.R.App.P. 26(b) specifically provides that this court cannot enlarge the time for filing a notice of appeal.
    
    
      5
      Accordingly, it is ORDERED that the appeal be, and it hereby is, dismissed for lack of jurisdiction.  Rule 9(b)(1), Rules of the Sixth Circuit.
    
    
      
        *
         The Honorable Charles W. Joiner, Senior U.S. District Judge for the Eastern District of Michigan, sitting by designation
      
    
    